            Case 16-00490-lmj13                     Doc 53 Filed 06/05/20 Entered 06/05/20 11:39:13                                      Desc
                                                    Chapter 13 Discharge Page 1 of 2
Information to identify the case:
Debtor 1
                         Scott David Clark                                                Social Security number or ITIN   xxx−xx−1199
                                                                                          EIN _ _−_ _ _ _ _ _ _
                         First Name   Middle Name   Last Name
Debtor 2                                                                                  Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name                             EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court   Southern District of Iowa

Case number:          16−00490−lmj13


Order of Discharge                                                                                                                              12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Scott David Clark


               6/5/20                                                             By the court:            Judge Lee M. Jackwig
                                                                                                           United States Bankruptcy Judge



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                                    Most debts are discharged
                                                                                  Most debts are covered by the discharge, but not all.
                                                                                  Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                         liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                         In a case involving community property: Special rules
attempt to collect a discharged debt from the                                     protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                                 spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                       case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                                 Some debts are not discharged
debtors by mail, phone, or otherwise in any                                       Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                           ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                           ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                     ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                               U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                          523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                           the plan;
any debt voluntarily. 11 U.S.C. § 524(f).

                                                             For more information, see page 2




Form 3180W                                                       Chapter 13 Discharge                                                           page 1
      Case 16-00490-lmj13       Doc 53 Filed 06/05/20 Entered 06/05/20 11:39:13                 Desc
                                Chapter 13 Discharge Page 2 of 2




    ♦ debts that the bankruptcy court has                       ♦ debts for restitution, or damages,
      decided or will decide are not discharged                   awarded in a civil action against the
      in this bankruptcy case;                                    debtor as a result of malicious or willful
                                                                  injury by the debtor that caused
                                                                  personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,                  death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                                ♦ debts for death or personal injury
                                                                  caused by operating a vehicle while
    ♦ some debts which the debtors did not                        intoxicated.
      properly list;

                                                         In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §               creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment           is also liable on the debt, such as an insurance
      or other transfer is due after the date on         company or a person who cosigned or
      which the final payment under the plan             guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases                This information is only a general
      made after the bankruptcy case was filed if         summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of           exceptions exist. Because the law is
      incurring the debt was practicable but was          complicated, you should consult an
      not obtained;                                       attorney to determine the exact effect of
                                                          the discharge in this case.




Form 3180W                               Chapter 13 Discharge                                          page 2
